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                  BEFORE THE UNITED STATES JUDICIAL PANEL ON
                          MULTIDISTRICT LITIGATION




 In re: MultiPlan Health Insurance Provider            MDL No. 3121
 Litigation




                                   NOTICE OF RELATED ACTION

       In accordance with Rule 6.2(d) of the Rules of Procedure for the Judicial Panel on

Multidistrict Litigation (the “Panel”), notice is hereby issued to the Clerk of the Panel that on

July 24, 2024, the following related action was filed in the United States District Court for the

Northern District of Illinois:


       •   Peak Chiropractic Health and Wellness LLC v. Multiplan, Inc., Case No. 1:24-
           cv-06284




       A copy of the complaint and docket sheets as of this date are attached hereto.




DATED: July 24, 2024                               Respectfully submitted,

                                                   /s/ Deborah Elman
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